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                  EXHIBIT B
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           THE CHAIRMAN’S REPORT OF THE ELECTION LAW
                     STUDY SUBCOMMITTEE
                    OF THE STANDING SENATE
                     JUDICIARY COMMITTEE
             SUMMARY OF TESTIMONY FROM DECEMBER 3, 2020 HEARING

                      Honorable William T. Ligon, Chairman
                              Senator, District 3
                            Honorable John Kennedy
                              Senator, District 18
                              Honorable Bill Heath
                               Senator, District 31
                            Honorable Blake Tillery
                             Senator, District 19
                            Honorable Michael Rhett
                              Senator, District 33
                            Honorable Elena Parent
                              Senator, District 42


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II.    EXECUTIVE SUMMARY

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IV.    FINDINGS

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I.      INTRODUCTION
The charge assigned to the Election Law Study Subcommittee of the Standing Senate Judiciary
Committee was to examine the recent election cycle, the recount process, the audit process,
the current investigations taking place, the litigation that is moving forward, as well as address
issues relating to the upcoming runoffs. In the matter of the law itself, we were to also consider
Ge gia elec i la a he ha e im ac ed a d a e im ac i g he c e elec i c cle Thi
Report may be further amended prior to the 2021 Georgia Legislative Session.
This Subcommittee met once at the Georgia State Capitol on Thursday, December 3, 2020. The
hearing was open to the public, and there was an open invitation for citizens to speak before
the committee. Subcommittee members also expressed stories they had heard from their
constituents. Other committee meetings have also been hearing testimony which should be
considered to present an even broader understanding. At this time, the additional committees
which have met and received testimony are the Senate Governmental Affairs Committee and
the House Governmental Oversight Committee. Many who could not testify due to lack of time
have recorded their own testimonies online and shared their written speeches with this
committee; the Subcommittee received many affidavits under oath.
This Report by the Subcommittee Chair has not been formally approved by the Subcommittee
or the standing Judiciary Committee. It is submitted for informational purposes to be a part of
the record at the request of the Judiciary Chair. It is a summary of testimony given in person
and by affidavit. For more information, please refer to the video record of the hearing and the
affidavits submitted.


II.     EXECUTIVE SUMMARY
The November 3,          Ge e al Elec i      he Elec i      a cha ic a d a      e     ed e l
must be viewed as untrustworthy. The Subcommittee took evidence from witnesses and
received affidavits sworn under oath. The Subcommittee heard evidence that proper protocols
were not used to ensure chain of custody of the ballots throughout the Election, after the
opening of ballots prior to the Election, and during the recounts. The Subcommittee heard
testimony that it was possible or even likely that large numbers of fraudulent ballots were
introduced into the pool of ballots that were counted as voted; there is no way of tracing the
ballots after they have been separated from the point of origin. The Subcommittee heard
testimony of pristine ballots whose origin looked suspicious or which could not be verified and
the inability of poll workers to distinguish between test ballots and absentee ballots. Signatures
were not consistently verified according to law in the absentee balloting process.
Poll watchers on Election Night testified that they had noted that ballots were not secured, that
seals and security tags were not used, and the chain of custody was often lax or non-existent.
During the recount process, the monitors observed similar patterns of unsecured ballots that
had broken seals and open cases of ballots laying around for hours or overnight in unsecured




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locations. There was a lack of enforcement of the law, sloppy handling of the ballots by those
counting, deliberate covering-up of voting numbers by workers, lack of following the process
during the recount, unsafe handling of military ballots, and insecure data such as on laptops
and flash drives. According to submitted testimony, there were also many equipment failures
when ballots would not go through the machines and other times when ballots were counted
more than once.
A great deal of testimony supported evidence of a coordinated effort to prevent a transparent
process of observing the counting of ballots during the absentee ballot opening period and on
Election Night. Witnesses testified to hostility to Republican poll workers during the recount
directional signage was unavailable, doors were locked, and Republican poll watchers were sent
home early or given menial assignments.
Monitors throughout the state were often kept at an unreasonably long distance some social
distancing was understandable, but monitors were blocked from having the visual ability to see
what was written on the ballots or to have any meaningful way to check the counting or to
double-check that what was counted was actually assigned to the right candidate. They also
could not observe what was entered into the ARLO system, nor could they be told the count
that was being entered into ARLO. Instead, they were told that those numbers would be totaled
a d c me back f m he Sec e a         f S a e Office The e e al        ld        ake ic e
film, or have other means of acquiring proof of the process that they were experiencing based
on a rule from the State Elections Board. That rule contravenes the spirit and purpose of the
election law.
The Sec e a      f S a e Office a      e      i e i h li e I ha bee           e      i e
many who wonder if their vote ever really counted. The office has turned a blind eye to fraud to
the point that it ought to be considered gross negligence.
The Subcommittee did not have time to investigate the numerous publicly reported issues with
the Dominion voting machines. The Subcommittee takes notice of the various publicly reported
functions of the machines and heard evidence that the machines can duplicate fraudulent
ballots to the point that not even trained personnel can tell the difference between a test ballot
and a real ballot. Testimony also suggested that the system responds wirelessly to being reset
from an unknown location as happened with the poll books. The Subcommittee also heard that
Dominion machines can be programmed with algorithms that reallocate votes between
candidates. In addition, the Dominion machines are programmed to count votes using
percentages of whole numbers rather than actual votes, which is a feature incompatible with
the actual voting process. The Subcommittee learned that the history and control of the
company that owns the Dominion voting system is unclear and provides serious implications of
foreign interference in the U.S. election.




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III.     ORAL TESTIMONY
Violation of Ballot/Computer Security Procedures During Early Voting and on Election Day
         B idge Th e h ha i e ea e e ie ce a a ll                     ke     eci c ma age i
         Fulton County, worked for five and a half days during early voting as a technician in the
         temporary warehouse in the Georgia World Congress Center. Because of positive COVID
         tests among Fulton County elections employees, Dominion Software was selected to run
         the warehouse. Thorne was disturbed at the lack of ballot security. Test ballots were
         printed on the same type of paper (official Rolland Voting paper) as real ballots, but test
         ballots were not routinely marked as such or destroyed. Thorne testified she saw a stack
         of these ballots almost eight inches tall.

         On October 30, when early voting finished at State Farm Arena in Fulton County (the
          S a e Fa m A e a Th e b e ed -50 scanners being brought into the arena and
         tens of thousands of ballots being scanned in by random people pulling ballots from
         random places no formal procedure, no oaths, no chain of custody. When Thorne
          bjec ed      hi ha ha a d       ce a D mi i em l ee e lied I fi e e ha e
         bee d i g hi all eek Whe Th e lef hat night, she observed unsecured
         suitcases of ballots next to the scanners.

         Upon arriving at the State Farm Arena the following morning, Thorne saw that suitcases
         of ballots had been piled in a corner and sealed. But there was no restricted access, so
         anyone could have removed one or more suitcases. In addition, anyone could have
             e ed hem a d e ealed hem beca e eal e e ea il acce ible D i g he
         day, employees brought Thorne other ballots that were found in the warehouse, asking
         if they were real or test. She had no way of knowing.

         The following night, when Thorne was again working at the warehouse, she observed a
         D mi i em l ee a d a Elec i G             C    la      i i g e ball       b d i g
            i c ec l She eali ed he ha anyone in the warehouse had access to printing
          eal ball

         Before Election Day, Thorne attempted to report her concerns about these insecure
         ballot operations to the Secretary of State (SOS) office and to the State Board of
         Elections; she received no response.

         Since giving her testimony to the Senate Subcommittee, Bridget Thorne has been fired
         by a consultant working for Fulton County.




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Recount: Counting Votes Without Monitoring, or Without Meaningful Monitoring
      Election Day Video from State Farm Arena in Fulton County showed a Fulton County
      Election worker approaching the media and poll monitors. After a brief exchange, the
      media and monitors packed up and left. This coincided with media reports that
      everyone was told to leave State Farm Arena around 10 p.m. on Election Night; workers
      testified they were told that tabulation was stopping for the night and would resume
      the next morning. Instead, video from State Farm Arena revealed that about six workers
      stayed behind. What happened next revealed a coordinated effort by election workers
      to deliberately conceal their continued counting of ballots out of public view, in direct
      violation of the law. This incident was premeditated. Those workers pulled out four
      concealed cases of ballots from under a table and continued counting for another two
      hours. During those two hours there were multiple machines running, each of which
      c ld       ce               ball    e h     A e e e a i e f The Sec e a             f
      S a e ffice claimed that it had a representative present during that period, and the
      media reported that statement widely; it was not true. The representative admitted he
      was not present during that time period and is not evident on the video.

      David Cross, though unable to speak at the hearing due to time constraints, submitted
      written testimony with graphs, one of which appears to enhance the significance of
      what took place with the change in vote totals just after the late-night activities took
      place at State Farm Arena. Due to its significance to the State Farm Arena video seen by
      the committee, his graph is included with this Report. It shows that 136,155 votes
        dde l a ea ed i Bide            ec l m a          a m N embe

      Scott Hall of Fulton County is an experienced poll watcher who testified that there was a
       ec ed l ch a ea b          he he b gh l ch f           ke    he e e          e mi ed
      use that area. There were no cameras in that area, yet tables were set up for counting,
      and poll watchers were excluded. He has photographs of the area. He also testified
       ha he e e e ack a d ack f               ec ed bla k ball     check a he called
      them) that were in the open.

      Mr. Hall noted a limitation of one monitor per 10 recounting tables as being an
      inadequate ratio to be truly effective. He was constantly engaged in the recount, even
      being called to go to the World Congress Center at ridiculous hours, such as 10 p.m., for
      more counting. He was adamant that something was seriously wrong with how Fulton
      County was handling the ballots.

      Mark Amick reported that in DeKalb County, only one monitor was allowed per 10
      tables of 16 recounters. He testified that monitors were kept six feet away and could
      not see the totals entered on the computer screens.




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      At State Farm Arena at the end of the recount day on November 14, Susan Voyles of
      Sandy Springs observed pallets of ballots remaining to be counted beginning the
      following day. When she arrived the next morning, November 15, those pallets were
      gone.

      On November 15, Voyles and her partner with whom she had traveled to State Farm
      Arena (also identified as a Republican), were given only 60 ballots to review, even
      though other tables had thousands. Voyles and her partner, as well as other Republican
      monitors, were told at 10 a.m. there was nothing else for them to do, so they should
      leave. Since giving her testimony to the Senate Subcommittee, Susan Voyles has been
      fired by a consultant working for Fulton County.

      Tony Burrison of Savannah and a military veteran served as one of very few recount
      observers during the recount in Chatham County. He described the process as
       di g i g stacks of ballots were being counted with no oversight or accountability.
      Based on what he observed, he believed there is a major problem with voting integrity
      due to tampering with the vote.

      Nancy Kain of DeKalb reported that she was kept too far from the counting to verify any
      votes.

      Hal Soucie of Smyrna, a poll watcher at State Farm Arena, testified that he was told that
      he was not supposed to be close enough to see batch numbers.

No Chain of Custody

      Annette Davis Jackson, a Gwinnett monitor, saw broken locks on the bins containing
      paper backup ballots.

      Scott Hall of Fulton County was told to leave the World Congress Center after he tried to
      document and photograph nine unsecured bags of ballots. He e ified he c ied          e
      the incidents he saw.

      Dana Smith, a Republican poll watcher in Hart County, testified that she observed the
      paper backup ballots being placed in unlocked canvas bags for transport to the county
      office of the Elections Supe i   The eci c ma age fi all a Smi h i i e ce
      obtained locks before transporting the bags in her car, but she refused to complete
      chain-of-custody forms. Smith also testified that there was open access to the special
      paper used to print the paper backup ballots.




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       Hal Soucie observed the recount process in two counties, Cobb and Fulton. At State
       Fa m A e a i F l      C        he e      ed    i ca e f ll f ball     all e he lace
       with no chain-of-custody procedures, no time and no date information. He observed
       people taking ballots out of the cases, counting, and putting them right back into the
       cases. No one checked him in as a credentialed observer, and one man handed him a
       stack of ballots without knowing who he was or where the ballots came from.
Suspicious “Pristine Absentee Ballots
       At the State Farm Arena recount on November 14, Susan Voyles          h ha        ea
       experience managing election precincts in Fulton County reviewed a stack of 110
       absentee ballots [ballots are normally placed in stacks of 100] and noticed they were
          i i e The had          bee f lded a d he did         a ea          a h gh        e
       a d elec i       ke had ha dled hem Each ball           a b bbled i       i h e ac l he
       same marking, which showed a small crescent of white in the bubble. It appeared as
       though one ballot had been marked and then reproduced over 100 times. In addition,
       one of these ballots bore the distinctive ink markings of having been pulled from a
       printer too soon. Almost all of these ballots were votes for Vice President Biden; only
       two were for President Trump. In her 20 years of election experience, Voyles had never
       seen any ballots like these. As noted above, Ms. Voyles has been fired from her position
       as a poll manager with Fulton County, presumably for her honest testimony.

       Hal Soucie, who was also at the State Farm Arena, verified that he saw the pristine
       ballots mentioned by Ms. Voyles.

       During the recount, Scott Hall of Fulton County saw large quantities of ballots at the
       World Congress Center that appeared to have been machine-produced. He stated that
       he a hi         e a d e The S bc mmi ee ecei ed e ide ce ha he                     ll
       worker h gh          he S a e e       ed imila i a ce f       i i e ball         ih
       explicable origin.
Duplication of Ballots Without Oversight
       Nancy Kain, a naturalized citizen in DeKalb County, volunteered as a poll watcher for
       Advance Voting at lower Roswell Road, served as a poll monitor during processing of
       absentee ballots and as a poll watcher on Election Day. At 10 a.m. on November 5, at
       the State Farm Arena, she was not asked for credentials and noticed that many people
       did not even have credentials. She observed a young man with paper ballots putting in
       selections on a ballot on a voting machine and wondered why it was not going through
       the scanner. The supervisor explained that the military ballots are transcribed in proper
       format and ballots come in that they were trying to salvage because of damage, thus
       they were just transferring them to a new ballot, and that was the process. Yet, no one
       was there to verify what the young man was doing. He was the brother of the



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       supervisor. Technically, he was voting for someone else on a voting machine. She took
       video and photographs and recorded her conversation with the supervisor.
       Mark Amick observed the processing of Provisional, Military and UOCAVA ballots in
       Fulton County on November 6 from early morning          il       m The l         e igh
       provided was from a Secretary of State (SOS) employee who was not seen in the area
       before mid-morning, and who spent much of day not observing the duplication and
       tabulation process but rather sitting in the back of the room and leaving the room while
       on his phone. The first time Amick saw the SOS employee on the counting/sorting floor
       was 5:53 p.m. By 6:02 p.m. he had returned to his chair at the back of the room, and he
       did not go back onto the counting/sorting floor by the time Amick left at 10:15 p.m.
Denial of Entry to Election Day Poll Watchers and During Recount
       Mark Amick, a credentialed Statewide Poll Watcher in Milton (Fulton County), was
       denied entry into the Birmingham Falls Elementary School precinct despite his statewide
       credentials. The Subcommittee has also received evidence from monitors that some of
       them were denied entrance during the recount.
Hostility
       Hale Soucie of Symrna testified that Cobb County was using an electronic counting
       machine on the first day to count ballots, which was not the approved way to do the
       recount. The next day, it was the hand count process. He stated that on his second day
       he immediately observed that the first auditor made three mistakes in two minutes
       calling three ballots marked for Trump as Biden votes, but the second auditor caught
       those mistakes. He noticed another table that was not even doing a double-check at all.
       When he sought to observe, he was met with great hostility and vulgar name calling
       directed at him. The Subcommittee received other evidence of hostility against the
       monitors.
Wildly Disparate Vote Totals from the Recount
       While observing the recount at the DeKalb County Board of Elections on November 15,
       Mark Amick saw that a box of ballots was recorded as 10,707 votes for Biden and 13
       votes for President Trump. He flagged this obvious disparity to the election workers,
       who discussed among themselves how it came to be. Two election officials with whom
       he engaged about this issue became agitated with Amick for his continued monitoring of
       the situation. They finally agreed to recount the box, resulting in a revised total of 1,081
       votes for Vice President Biden and 13 for President Trump still statistically disparate,
       but 9,626 votes less so. Amick was not certain if the corrected count was actually
       entered into the final recount totals.




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       At State Farm Arena during the recount, Susan Voyles also noted a stack of absentee
       ballots with only two votes for President Trump.
       Hal Soucie of Smyrna, while monitoring in State Farm Arena, noticed stacks of ballots
       quite high, such as eight inches high for Biden, yet not a single Trump vote. He stated
       that he works with data and marketing, and anytime figures start reaching the 90 th
       percentile, that type of consumer data is suspect, and when it gets to 100 percent that is
       passing the level of improbable to impossible.
Ballots Counted from Ineligible Voters
       Mark Davis analyzed data from U.S. Postal Service change-of-address (COA) forms and
       compared it to voters who voted in their former precincts. For example, he discovered
       that 14,980 out-of-state movers still voted in the Georgia General Election. Another
       40,279 moved across county lines more than 30 days prior to the election, yet still voted
       in their former county precincts, a violation of Georgia law. He also noted that about
       1,000 voters had voted twice in the Primary, inferring that the same pattern could have
       existed in the General Election.
Constitutional Violations of Duly Passed Law
       Dr. John C. Eastman, former Professor of Law and former Dean of the Chapman
       University Fowler School of Law and current Fellow at the Claremont Institute, testified
        ega di g he le a a h i             f he legi la i e b d f he S a e         e he Time
       Place a d Ma e         f elections involving Federal officials, including with respect to the
       selection of Electors for the Electoral College in the presidential election, citing Article I,
       Section 4 and Article II, Section 1 of the U.S. Constitution. He noted that when States
       have vested that authority in the people of their States that they are bound to follow
        he e le ch ice i a f ee a d fai elec i           b    he e f a d a d fail e f ll          he
       law as passed by the legislative body is evident, that authority can be withdrawn. The
       legislature then can exercise its plenary authority to choose the electors in a presidential
       contest. He referenced both Bush v. Gore and McPherson v. Blacker as authoritative.

       Professor Eastman further explained that the failure of State election officials to follow
       the manner of conducting the election according to the statutes duly passed by the
       legislative body can annul an election. The U.S. Constitution clearly gives State
       legislatures under Article I, Section 4 the duty to de e mi e he ma e         f fede al
       elections, and that power rests solely with the State legislatures unless Congress passes
       its own laws that preempt State election laws. There is no provision which allows any
       Executive branch member to modify, set aside, enhance, or otherwise create policies or
       procedures which undermine or contravene those laws.




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      He noted various ways State election officials had failed to follow the statutes in
      conducting the election. He reiterated failures such as counting the votes of
      approximately 66,000 underage individuals, the 2,500 felons whose votes were
      unlawfully counted, the votes of those who had no verifiable residences within the
      S a e a d he bigge         f all he belie ed a he Ma ch           e leme ag eeme
      that was e e ed i        i h Ge gia Sec e a       f S a e a d ce ai dem c a
      c mmi ee challe ge ha effec i el al e ed he ig a e e ifica i                  ce    ih
      regard to Absentee Ballots, an agreement that was contrary to State law. He further
      noted that the i e mi gli g f legal a d illegal ball       al mea ha he elec i
      ca      legall be ce ified The S a e ha failed make a ch ice           Elec i Da i
      acc da ce i h he ma e he legi la e e c ibed I ligh f he fail e he
      fraud, and the unconstitutional agreement, Dr. Eastman opined that it was the duty of
       he legi la i e b d    ch e he S a e Elec           f he e ide ial elec i
Data Analysis in General and Dominion Issues
      Russell J. Ramsland, Jr., a cybersecurity expert from Texas, testified that his team had
      compared data from Dominion voting machines in those places where they were used
      around the nation. They discovered that with Dominion machines, Vice President Biden
      outperformed what he was statistically expected to recei e b a ama i g              He al
      outperformed statistical expectations when the analysis was run by county, with Vice
      President Biden picking up 78% of Dominion counties but only 46% of counties using
      machines from other manufacturers. Depending on the type of analysis performed,
      Ramsland estimated that these anomalies translated to between 123,000 and 136,000
      extra votes for Vice President Biden in Georgia.

      Ramsland also found that the rejection rate for absentee ballots in Georgia was much
      lower in 2020 (0.2%) than in 2016 (6.4%). He also identified over 96,000 phantom votes,
      meaning that they had been counted, but there was no record of the counties recording
       h e ball a ecei ed

      Phil Waldron, a former U.S. Army information officer with expertise in electronic
        a fa e ide ified a    e     ig ifica i f ma i       a fa e cam aig c d c ed
      across the country during the Election. He described the history of the Dominion and
      other voting machine      i h he e a i g f a e ha i g he ame DNA g i g back
      to Smartmatic, which was created to help steal elections in Venezuela.

      Waldron analyzed these machines in Michigan and found them extremely insecure. He
      said a good hacker could get into them within two minutes, while an elementary-school
      student could probably do it in twelve. There are 12 avenues of attack. Dominion also
      sends voter data outside the United States.




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      Waldron discussed fractional voting. Waldron testified that the Dominion software used
      in the Georgia machines assigns a fractional value to each vote; there is no legitimate
             e i a ig i g a elec          e a a f ac i al      e Tha fea e ca all          he
      manipulation of election results.

      Waldron said federal law (USC Title 46) requires that the ballot images within the
      machine are required to be preserved for 22 months, but only a forensic analysis would
      show if this was done. Each machine can record 2,000-3,000 ballots per hour. His
      Michiga a al i h ed h ge b eache i chai f c                 d     i h e ec       he
      machines and to absentee ballots. In Georgia, there was an unexplained upload of
      ballots at 3:36 a.m. on November 4.

      Waldron urged a full forensic audit of the machines and of absentee ballots (for
      example, ink analysis would show if ballots were mass-produced).

      Scott Hall of Fulton County stated that when he worked at the English Street facility that
      he had concerns about the contractors hired there. He noted that every vote in Fulton
      County ends up on thumb drives that eventually find their way to the English Street
      l ca i   He aid I ha e h g a h f alle l ad f ba icall ig ed check                  S
            e g e e i gle        e        eg c e c a d                j   eed me e d
      i He aid he hi ed one of his own guys to determine if a fraudulent vote could be
      recorded on the Dominion machines at tha       i i he        ce   N      I e g all
      these votes that have not been uploaded anywhere. And he actually wrote me a paper,
      and he said that it wa he        ide    im le hi g I e e e ee He aid
       D mi i            d c me a i      h     h        ake a e i e ba ch       i e i ff a d
      then swipe on a new batch, before you put it into the real- ime eade ha        l ad He
      summed up the voter fraud by using the analogy that the referee got paid off to call the
      game and something is very wrong.
Outside Influence Over Governmental Election Functions
      Sc Wal e f m he Ca i l Re ea ch G                e ified ab    Ma k Z cke be g Ce e
      for Technology and Civic Life (CTCL), a progressive advocacy group that seeks to
      i fl e ce elec i     ia    e ed ca i       a d ge -out-the-vote efforts. In the 2020
      election, CTCL made grants to individual counties, in Georgia and elsewhere, ostensibly
      to help run safe elections during COVID. But county boards could use the money for
      whatever they wanted, and the bulk of the grants (95% of total funding) went to
      counties that voted for Clinton in 2016 and for Biden in 2020. In fact, nine of the 10
      Georgia counties that experienced the largest shifts toward Democrats in 2020 received
      CTCL grants -- $4.38-$10.47 spent per each man, woman, and child in those counties.
      Ge gia h ld         all       i a i ed elec i     ia he ga i a i       ha he Wa hi g
      Post has called the Dem c a ic Pa        H g a f digi al i a d



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Voters Unable to Verify Votes Counted
          Grace Lennon, a student at Georgia Tech, hoped to early vote on October 23. When she
          arrived, she was told that she had been sent an absentee ballot. She never received an
          absentee ballot. She had to sign an affidavit saying that she had not requested nor had
          she received an absentee ballot. She was then given a voter card to vote on the
          machine. However, the next day, she learned that someone had voted absentee in her
          name on October 7th. She was not able to verify that her vote actually counted for the
          one she chose to select in the election or whether the absentee ballot counted instead.
          Senator Greg Dolezal confirmed that most all the Senators had heard many similar
          stories.

V.        FINDINGS
     1- The November 3, 2020 election was chaotic and the results cannot be trusted.
     2- The Secretary of State and the State Elections Board failed to enforce the law as written
          in the Georgia Code, and furthermore, created policies that contravened State law. As
          Senator Matt Brass concluded at the December 3 hearing We ha e hea d e ide ce
          that S a e la     a        f ll ed ime af e ime af e ime
     3-   The Secretary of State failed to have a transparent process for the verification of
          signatures for absentee ballots, for the counting of votes during the subsequent recount
          and audit, and for providing the type of guidance and enforcement necessary to ensure
          that monitors and other observers had meaningful access to the process.
     4-   The Secretary of State instituted an unconstitutional gag order so that monitors were
          told not to use photography or video recording devices during the recount.
     5-   Election officials at all levels failed to secure test ballots and actual ballots. Many reports
          indicate that proper procedures were not followed, and there was systematic failure to
          maintain appropriate records of the chain of custody for these ballots, both prior to and
          after voting and throughout the recount.
     6-   The Secretary of State and Election Supervisors failed to stop hostile behavior of
          workers toward citizen volunteer monitors during the recount process.
     7-   The events at the State Farm Arena are particularly disturbing because they
          demonstrated intent on the part of election workers to exclude the public from viewing
          the counting of ballots, an intentional disregard for the law. The number of votes that
          could have been counted in that length of time was sufficient to change the results of
          the presidential election and the senatorial contests. Furthermore, there appears to be
          coordinated illegal activities by election workers themselves who purposely placed
          fraudulent ballots into the final election totals.
     8-   Grants from private sources provided financial incentives to county officials and exerted
          influence over the election process.
     9-   The oral testimonies of witnesses on December 3, 2020, and subsequently, the written
          testimonies submitted by many others, provide ample evidence that the 2020 Georgia
          General Election was so compromised by systemic irregularities and voter fraud that it
          should not be certified.




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VI.      RECOMMENDATIONS
         A. Absentee Ballots
                  In addition to following the law as already written by the legislature, such as
                  not opening absentee ballots until Election Day, additional steps should be
                  taken to ensure that only legal absentee votes are counted.

                    At a minimum, these recommendations include requiring photo
                    identification, following signature match procedures faithfully, allowing
                    absentee ballots to be used only upon demonstration of need, mailing
                    absentee ballots out only upon the request of the registered voter, and
                    although already illegal, expressly prohibiting drop boxes.

         B. Secure Chain of Custody and Additional Security Measures
                   Procedures should be established to ensure proper chain of custody for all
                   ballots, whether they are test ballots, new unused ballots, spoiled ballots,
                   cast BMD-generated ballots, absentee ballots, and even the specialty paper
                   that is used to print the ballots.

                    Penalties should be clearly known and enforced for any violations.

                    There should be complete security when workers go on the job, with sign-in
                    of their names and a time stamp, when they go in and when they go out.

                    Cameras should also be on-site to monitor the process at all times, as well as
                    all the entrances to the buildings where ballots and the ballot paper are
                    stored.

         C. Meaningful Access for Poll Watchers and Monitors
                  Citizens who are seeking to ensure the integrity of the vote need to be able
                  to truly see the process. They should be able to ensure that people are
                  reading their ballots before they are cast. They should be able to inspect the
                  signature match process when ballots are opened. They should be able to
                  write down seal information so they can ensure proper custody is in place.
                  They should be close enough to see the names on the ballots during any
                  recounts, the counts written on recount report sheets, the counts going into
                  the ARLO system, the counts written on ballot containers, the process of the
                  seals being broken as the ballots are entering the process, and so forth.




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              More poll watchers and monitors should be allowed to participate since the
              ratio needs to be improved. Objections by monitors should be addressed
              immediately on-site to ensure access and transparency.

              Hostile actions by election workers toward volunteers should be
              immediately addressed and should be cause for dismissal.

   D. No Unconstitutional Gag Orders
            There is no reason to ban cameras when tabulation is taking place or when
            recounts and audits are taking place.

              Furthermore, there is no reason to ban cameras at the polling booth as long
              as voters have privacy while voting.

              The State Board of Elections should not ban cameras and recording
              equipment. They must fulfill their duty to ensure a transparent election
              process. Furthermore, citizens have a right to share those photos,
              recordings, and thoughts about what they observe.

   E. Unqualified Voters Should Be Purged from the System
            No underage voters should be in the system to allow their votes. No felons
            should be in the system to allow their votes.

              Other categories of voters, such as the deceased and those who have moved
              out of state, should also be examined as to their continued presence on the
              voter rolls.

   F. Violations of State Election Laws Must Be Prosecuted
              The Ge gia B ea f I e iga i            GBI a d he A         e Ge e al
              should aggressively investigate and prosecute those who violate election
              laws, including those conspiring to place fraudulent ballots into the system
              and the 1,000 persons identified by the Secretary of State who voted twice
              in the 2020 primaries. If prosecutions do not happen, violations will recur.

              The GBI should establish an independent office for the investigation of all
              claims of voter fraud. That office should report regularly to the Judiciary
              Committee and, except in the case of investigations involving the Secretary
              of State or its personnel, the office of the Secretary of State.

              The GBI should investigate the cases where many affidavits already exist
              regarding election fraud in the 2020 General Election.



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   G. Forensic Audits of Ballots and Machines
             The Legislature must determine if ballot marking devices (BMDs) have been
             manipulated to provide a fraudulent result and without regard to whether
             the forensic audits can actually identify the manipulation of votes and the
             authenticity of the ballots that are in the ballot boxes, either generated by
             the BMDs or those that are absentee ballots.

              Independent third-party auditors should review the fiducials on all ballots
              types (absentee, military, machine generated), audit the absentee ballot
              results from the last election, confirm the number of external envelopes in
              each county, and the number of ballots for each county.

              Such audits should help ensure that phantom ballots and other fraudulent
              ballots are not counted in election results, and that legal votes are the only
              votes counted.

   H. For Rectifying the 2020 General Election Results
             The Legislature should carefully consider its obligations under the U.S.
             Constitution. If a majority of the General Assembly concurs with the
             findings of this report, the certification of the Election should be rescinded
             and the General Assembly should act to determine the proper Electors to be
             certified to the Electoral College in the 2020 presidential race. Since time is
             of the essence, the Chairman and Senators who concur with this report
             recommend that the leadership of the General Assembly and the Governor
             immediately convene to allow further consideration by the entire General
             Assembly.



   Respectfully submitted this the 17th day of December 2020.


                                       _____________________________________
                                        Honorable William T. Ligon, Chairman
                                        Senator, District 3




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